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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU


   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/

                             DECLARATION OF KATHERINE M. BOLGER

             I, Katherine M. Bolger, declare as follows:
             1.        I am a partner at Davis Wright Tremaine LLP, counsel to Defendants, BuzzFeed,
   Inc. and Ben Smith, in this action.
             2.        I make this declaration in order to annex exhibits relied upon in Defendants’
   Motion for Summary Judgment.
             3.        Annexed hereto as Exhibit 1 is a true and correct copy of the Complaint in this
   action.
             4.        Annexed hereto as Exhibit 2 is a true and correct copy of the Declaration of Ben
   Smith.
             5.        Annexed hereto as Exhibit 3 is a true and correct copy of the Declaration of Ken
   Bensinger.
             6.        Annexed hereto as Exhibit 4 is a true and correct copy of the Declaration of Mark
   Schoofs.
             7.        Annexed hereto as Exhibit 5 is a true and correct copy of the Declaration of
   Miriam Elder.
             8.        Annexed hereto as Exhibit 6 is a true and correct copy of the Declaration of Roy
   Cysner, previously filed in this action as Dkt. 15-4.




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          20.     Annexed hereto as Exhibit 18 is a true and correct copy of the registration
   information for XBT Holding S.A. from the website of the Luxembourg Trade and Companies
   Register.
          21.     Annexed hereto as Exhibit 19 is a true and correct copy of the 2016 Florida Profit
   Corporation Annual Report filed on February 23, 2016 with the Florida Secretary of State by
   Plaintiff Webzilla, Inc.
          22.     Annexed hereto as Exhibit 20 is a true and correct copy of the 2017 Florida Profit
   Corporation Annual Report filed on April 30, 2017 with the Florida Secretary of State by
   Plaintiff Webzilla, Inc.

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           23.    Annexed hereto as Exhibit 21 is a true and correct copy of document P-P000431.
           24.    Annexed hereto as Exhibit 22 is a true and correct copy of document P-P000601,
   along with a certified English translation of it.
           25.


           26.
           27.
           28.
           29.    Annexed hereto as Exhibit 27 is a true and correct copy of a memorandum by the
   Majority Staff of the House Permanent Select Committee on Intelligence (“HPSCI”) with the
   subject “Foreign Intelligence Surveillance Act Abuses at the Department of Justice and the
   Federal Bureau of Investigation,” dated January 18, 2018, which is referred to in Defendants’
   Statement of Undisputed Material Facts as the “Nunes Memo.”
           30.    Annexed hereto as Exhibit 28 is a true and correct copy of the redacted public
   version of a memorandum from the HPSCI Minority Member with the subject “Correcting the
   Record – The Russia Investigations,” dated January 29, 2018, which is referred to in Defendants’
   Statement of Undisputed Material Facts as the “Schiff Memo.”
           31.    Annexed hereto as Exhibit 29 is a true and correct copy of a transcript of
   testimony of Director James Comey and Admiral Michael Rogers before the HPSCI on March
   20, 2017.
           32.    Annexed hereto as Exhibit 30 is a true and correct copy of the redacted public
   version of an application for a FISA warrant relating to Carter Page, dated October 2016.
           33.    Annexed hereto as Exhibit 31 is a true and correct copy of the redacted public
   version of an FBI Source Closing Communication, released by FBI as part of a group of
   documents entitled “Records Between the FBI and Christopher Steele.” See
   https://vault.fbi.gov/records-between-fbi-and-christopher-
   steele/Records%20Between%20FBI%20and%20Christopher%20Steele%20Part%2001%20of%2
   002/view.
           34.    Annexed hereto as Exhibit 32 is a true and correct copy of the redacted public
   version of an application for renewal of a FISA warrant relating to Carter Page, dated January
   2017.

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           35.    Annexed hereto as Exhibit 33 is a true and correct copy of the redacted public
   version of the HSPCI report entitled “Report on Russian Active Measures,” dated March 22,
   2018, which is referred to in Defendants’ Statement of Undisputed Material Facts as the “HSPCI
   Report”.
           36.    Annexed hereto as Exhibit 34 is a true and correct copy of a FOIA Request from
   the James Madison Project to the CIA dated January 11, 2017, filed in James Madison Project v.
   Dep’t of Justice, No. 1:17-cv-00144-APM, Dkt. 8-2 (D.D.C.).
           37.    Annexed hereto as Exhibit 35 is a true and correct copy of a FOIA Request from
   the James Madison Project to the Office of the Director of National Intelligence dated January
   11, 2017, filed in James Madison Project v. Dep’t of Justice, No. 1:17-cv-00144-APM, Dkt. 8-4
   (D.D.C.).
           38.    Annexed hereto as Exhibit 36 is a true and correct copy of the Declaration of
   Edward M. Gistaro, Deputy Director of National Intelligence for Intelligence Integration, Office
   of the Director of National Intelligence, filed in James Madison Project v. Dep’t of Justice, No.
   1:17-cv-00144-APM, Dkt. 14-4 (D.D.C.).
           39.    Annexed hereto as Exhibit 37 is a true and correct copy of the public version of

   the Joint Intelligence Assessment titled Assessing Russian Activities and Intentions in Recent

   U.S. Elections dated January 6, 2017.

           40.    Annexed hereto as Exhibit 38 is a true and correct copy of the Statement for the
   Record submitted to the Senate Select Committee on Intelligence by James Comey, dated June 8,
   2017.
           41.    Annexed hereto as Exhibit 39 is a true and correct copy of a letter from Senator
   Harry Reid to James Comey, dated October 30, 2016.
           42.    Annexed hereto as Exhibit 40 is a true and correct copy of the initial version of
   the BuzzFeed article The Reports Allege Trump Has Deep Ties to Russia, published January 10,
   2017 at approximately 6:20 pm.
           43.


           44.    Annexed hereto as Exhibit 42 is a true and correct copy of a January 10, 2017
   article by David Jackson and Kevin Johnson entitled Intel Chiefs briefed Trump, Obama on

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   unverified, salacious allegations concerning Russia and President Elect for USA Today, printed
   from the website at https://www.usatoday.com/story/news/politics/2017/01/10/russian-hacking-
   cnn-information-election-trump/96414062/.
          45.     Annexed hereto as Exhibit 43 is a true and correct copy of a January 11, 2017
   article by Scott Shane, Nicholas Confessore and Matthew Rosenberg entitled How a Sensational,
   Unverified Dossier Became a Crisis for Donald Trump for The New York Times, printed from
   the website at https://www.nytimes.com/2017/01/11/us/politics/donald-trump-russia-
   intelligence.html.
          46.     Annexed hereto as Exhibit 44 is a true and correct copy of a January 11, 2017
   article by Julian Borger entitled John McCain passes Dossier alleging secret Trump-Russia
   contacts to FBI for The Guardian, printed from the website at https://www.theguardian.com/us-
   news/2017/jan/10/fbi-chief-given-dossier-by-john-mccain-alleging-secret-trump-russia-contacts.
          47.     Annexed hereto as Exhibit 45 is a true and correct copy of a January 11, 2017
   article entitled The Trump dossier: What we know, what we don’t for the Chicago Tribune,
   printed from the website at http://www.chicagotribune.com/news/opinion/editorials/ct-trump-
   putin-russia-dossier-edit-0112-md-20170111-story.html.
          48.     Annexed hereto as Exhibit 46 is a true and correct copy of a January 11, 2017
   article by Yochi Dreazen entitled The bombshell report that Russia can blackmail trump,
   explained for Vox, printed from the website at https://www.vox.com/policy-and-
   politics/2017/1/11/14233898/cnn-bombshell-report-russia-blackmail-trump-explained-videotape-
   sex-money.
          49.     Annexed hereto as Exhibit 47 is a true and correct copy of a May 10, 2017 article
   by Luke Harding entitled What do we know about alleged links between Trump and Russia? for
   The Guardian, printed from the website at https://www.theguardian.com/us-
   news/2017/may/10/qa-what-we-know-about-alleged-links-between-trump-and-russia.
          50.     Annexed hereto as Exhibit 48 is a true and correct copy of a July 12, 2017 article
   by Chuck Ross entitled Does the Steele Dossier Describe What Happened in Trump Tower
   Meeting? for Daily Caller, printed from the website at http://dailycaller.com/2017/07/12/does-
   the-steele-dossier-describe-what-happened-in-trump-tower-meeting/.




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          51.       Annexed hereto as Exhibit49 is a true and correct copy of a September 6, 2017
   article by John Sipher entitled A Second Look at the Steele Dossier for Just Security, printed
   from the website at https://www.justsecurity.org/44697/steele-dossier-knowing/.
          52.       Annexed hereto as Exhibit 50 is a true and correct copy of a February 1, 2018
   article by Shimon Prokupecz, et al., entitled FBI chief has ‘grave concerns,’ clashes with Trump
   over GOP memo for CNN, printed from the website at
   https://www.cnn.com/2018/01/31/politics/nunes-memo-law-enforcement/index.html.
          53.       Annexed hereto as Exhibit 51 is a true and correct copy of a February 3, 2018
   article by Luke Harding entitled Why Carter Page Was Worth Watching for Politico, printed
   from the website at https://www.politico.com/magazine/story/2018/02/03/carter-page-nunes-
   memo-216934.
          54.       Annexed hereto as Exhibit 52 is a true and correct coy of a March 12, 2018
   article by Jane Mayer entitled Christopher Steele, The Man Behind the Trump Dossier for The
   New Yorker, printed from the website at
   https://www.newyorker.com/magazine/2018/03/12/christopher-steele-the-man-behind-the-
   trump-dossier.
          55.       Annexed hereto as Exhibit 53 is a true and correct copy of an April 13, 2018
   article by Peter Stone and Greg Gordon entitled Sources: Mueller has evidence Cohen was
   Prague in 2016, confirming part of dossier for McClatchy, printed from the website at
   https://www.mcclatchydc.com/news/politics-government/white-house/article208870264.html.
          56.       Annexed hereto as Exhibit 54 is a true and correct copy of a May 10, 2018 article
   by Dom Callcchio entitled ‘I would do it again,’ McCain writes about release of Steele dossier
   to FBI for Fox News, printed from the website at
   http://www.foxnews.com/politics/2018/05/10/would-do-it-again-mccain-writes-about-release-
   steele-dossier-to-fbi.html.
          57.       Annexed hereto as Exhibit 55 is a true and correct copy of a May 26, 2018 article
   entitled Clapper: ‘More and more’ of Steele dossier proving to be true for The Hill, printed from
   the website at https://thehill.com/policy/national-security/389522-clapper-more-and-more-of-
   steele-dossier-proving-to-be-true.
          58.       Annexed hereto as Exhibit 56 is a true and correct copy of an August 28, 2018
   article entitled Report: Devin Nunes flew to London to get info on ex-spy who wrote Donald

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   Trump dossier for USA Today, printed from the website at
   https://www.usatoday.com/story/news/politics/2018/08/28/devin-nunes-british-spy-who-wrote-
   trump-dossier/1124384002/.
           59.     Annexed hereto as Exhibit 57 is a true and correct copy of an August 30, 2018
   article by Ellen Nakashima, et al., entitled Trump suggests Bruce Ohr, Justice official linked to
   Russia dossier, should be fired for The Washington Post printed from the website at
   https://www.washingtonpost.com/world/national-security/trump-intensifies-attack-on-bruce-ohr-
   justice-official-linked-to-russia-dossier/2018/08/29/41960442-aae8-11e8-b1da-
   ff7faa680710_story.html?utm_term=.e908ff8321e8.
           60.     Annexed hereto as Exhibit 58 is a true and correct copy of a September 19, 2018
   article by Rowan Scarborough entitled James Comey was chief anti-Trump dossier proponent
   within U.S. intelligence Community for The Washington Times printed from the website at
   https://www.washingtontimes.com/news/2018/sep/19/james-comeys-fbi-pushed-anti-trump-
   dossier-officia/.
           61.     Annexed hereto as Exhibit 59 is a true and correct copy of relevant excerpts of
   the deposition of Ben Smith.
           I declare under penalty of perjury that the foregoing is true and correct.

   Executed on: September 21, 2018                               /s/ Katherine M. Bolger
                                                                 Katherine M. Bolger




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